Case 1:14-ml-02570-RLY-TAB Document 22565 Filed 08/19/22 Page 1 of 2 PageID #:
                                 132987

                  IN THE UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION
_________________________________________

In Re: COOK MEDICAL, INC., IVC FILTERS
MARKETING, SALES PRACTICES AND                                 Case No. 1:14-ml-2570-RLY-TAB
PRODUCTS LIABILITY LITIGATION                                                    MDL No. 2570
_________________________________________

This Document Relates to:

1:22-cv-01554
1:22-cv-01555
1:22-cv-01558
1:22-cv-01561
1:22-cv-01579


                                APPEARANCE OF COUNSEL

To: The Clerk of Court and all parties of record:

       I am admitted or otherwise authorized to practice in this Court, and I appear in this case
as counsel for:

       Cook Medical LLC (which is alleged in some cases to be also known as “Cook
       Medical, Inc.”);
       Cook Incorporated (which is alleged in some cases to be doing business as “Cook
       Medical”); and
       William Cook Europe ApS

Dated: August 19, 2022                       /s/ Andrea Roberts Pierson
                                             Andrea Roberts Pierson (# 18435-49)
                                             Kip S. M. McDonald (# 29370-49)
                                             FAEGRE DRINKER BIDDLE & REATH LLP
                                             300 North Meridian Street, Suite 2500
                                             Indianapolis, Indiana 46204
                                             Telephone: (317) 237-0300
                                             Facsimile: (317) 237-1000
                                             E-Mail: andrea.pierson@faegredrinker.com
                                             E-Mail: kip.mcdonald@faegredrinker.com
Case 1:14-ml-02570-RLY-TAB Document 22565 Filed 08/19/22 Page 2 of 2 PageID #:
                                 132988

                               CERTIFICATE OF SERVICE

       I hereby certify that on August 19, 2022, I electronically filed the foregoing document

with the Clerk of the Court using the CM/ECF system which will send notification of such filing

to the CM/ECF participants registered to receive service in this MDL.


                                                   /s/ Andrea Roberts Pierson




                                               2
